                                            UNITED STATES DISTRICT COURT
                                            MIDDLE DISTRICT OF TENNESSEE
                                                 NASHVILLE DIVISION

 UNITED STATES OF AMERICA                                                  )
 ex rel. LIEBMAN et al.,                                                   )
                                                                           )         Case No. 3:17-CV-00902
          Plaintiffs-Relators,                                             )
                                                                           )         DISTRICT JUDGE CAMPBELL
              v.                                                           )
                                                                           )         MAGISTRATE JUDGE HOLMES
 METHODIST LE BONHEUR                                                      )
 HEALTHCARE, et al.,                                                       )
                                                                           )
          Defendants.                                                      )



            UNITED STATES’ OPPOSITION TO DEFENDANTS’
 MOTION TO EXCLUDE PROPOSED TESTIMONY OF EXPERT TIMOTHY SMITH


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        The United States respectfully opposes the Methodist Defendants’ motion to exclude

portions of the United States’ expert Timothy Smith’s proposed testimony. See ECF No. 328.

I.      INTRODUCTION

        Mr. Smith’s expert report is 99 pages long and contains more than 30 expert opinions

regarding Methodist’s so-called implicit “partnership” 1 and payments to the West Clinic (“West”)

physicians. See ECF No. 328-1. Methodist’s motion challenges only three of those opinions,

designated by Methodist as Opinions 1, 2, and 3. 2

        With respect to Opinion 1, Methodist’s principal argument is that Mr. Smith improperly

uses the phrase, “Methodist knew or should have known” that its fair market valuations “did not

match the terms of the PSA [Professional Services Agreement] and MSA [Management Services

Agreement] as written and as implemented.” Methodist claims that this is an attempt to opine on

matters of intent and states of mind. But this is simply not so. Rather, Mr. Smith’s report addresses

over 20 separate ways in which Methodist’s payments and arrangements with West were contrary

to the conditions and parameters of its own valuation opinions. Methodist had notice of such

valuations and yet proceeded to pay West in violation of its own valuations. Mr. Smith’s

Opinion 1 addresses that notice to Methodist.

        With respect to Opinion 2, Methodist objects to Mr. Smith’s use of the word “financial

mindset” and “sharing mindset” in his report when discussing Methodist’s strategy to share drug



1
        Methodist and West leaders have both called their relationship a “partnership,” yet the
actual contractual terms between them do not comply with the legal requirements for a partnership.
Hospital systems generally cannot legally enter into revenue-sharing “partnerships” with referring
physicians under federal laws, including the Stark laws and the Anti-Kickback Statute.
2
        In its supporting brief, Methodist repeatedly refers to having obtained the advice of counsel
on the deal. For the reasons stated in the United States’ motion to strike and/or preclude
Methodist’s advice of counsel defense in its summary judgment filings, the Court should also not
consider such allegations in ruling on the motion to exclude portions of Mr. Smith’s
testimony. See ECF Nos. 343-44.


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profits with the prescribing West physicians. Contrary to Methodists’ assertions, this portion of

Mr. Smith’s report also does not opine about the intent or states of mind of any Methodist executive

or employee. Nor is Mr. Smith’s opinion that “Methodist’s sharing of its pre-deal economic

analysis with West amounted to a discussion about the value of referrals and how the parties would

benefit from those referrals” a legal conclusion or legal opinion. Rather, Mr. Smith is offering his

opinion based on industry standards and practices, which he is eminently qualified to do given his

experience as a leading expert in the healthcare industry for 28 years. Federal case law fully

endorses expert testimony based on industry practices, and Mr. Smith’s use of the word “sharing

mindset” is simply his way of describing the compensation model in which Methodist shared and

distributed a portion of the drug profits with prescribing physicians contrary to industry practices.

        Methodist also argues that evidence of a hospital system agreeing to share drug profits with

prescribing physicians “is not relevant” under the AKS. Yet federal case law confirms that such

evidence is highly relevant to the core prohibitions of that statute.

        With respect to Opinion 3, Methodist argues that Mr. Smith’s methods are “unreliable” in

calculating the amount of Methodist’s overpayments to the West physicians under the Professional

Services Agreement (“PSA”). Yet the truth is that his methodology is the same as that employed

by Methodist’s own valuation consultant, ECG, which examined the ratios between West

physicians’ compensation and their professional collections. 3 Methodist’s challenge is not a proper

challenge to Mr. Smith’s methodology under Rule 702.

        Even if the Court should give credence to any of Methodist’s three concerns, such

challenges would bear on the weight of the evidence but not its admissibility.



3
       The term “professional collections” is a physician productivity metric that is commonly
used in the healthcare industry. It measures the collections received for the professional
component of services personally provided by a physician.


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II.    SUMMARY OF TIMOTHY SMITH’S QUALIFICATIONS

       Mr. Smith is the principal of TS Healthcare Consulting, providing a wide range of

healthcare valuation and consulting services. He has over 28 years of experience in the healthcare

industry, including healthcare valuation and transaction advisory roles, with a focus on physician-

related transactions and determining fair market value (“FMV”) for regulatory compliance

purposes. See ECF No. 328-1 at 4-5.

       His industry experience includes more than 14 years with the Hospital Corporation of

America (“HCA”) where he designed and managed HCA’s FMV compliance program for business

and compensation valuations as part of the company’s corporate integrity agreement with the

United States during the 2000s. While working at HCA, he reviewed hundreds of business and

compensation valuations for a wide spectrum of transactions with a focus on healthcare regulatory

compliance. He served as a leading executive within HCA on matters of FMV and was regularly

consulted on complex and difficult transactions.       He also personally negotiated numerous

physician practice acquisition and divestiture transactions and was highly involved in drafting the

transaction documents. In addition, he served as an ethics and compliance officer in his role as a

developer of physician transactions at HCA. Id.

       For the past 14 years, Mr. Smith has been a practicing professional business and

compensation valuator, working exclusively in the healthcare industry with a focus on FMV for

compliance purposes. He holds the Accredited in Business Valuation (“ABV”) credential from

the American Institute of Certified Public Accountants (“AICPA”), along with being a certified

public accountant in two states (Oklahoma and Texas). Id. He is the editor and principal author

of the leading textbook, The Complete Guide to Fair Market Value Under the Stark Regulations

and the co-editor and contributing author of BVR/AHLA Guide to Valuing Physician Compensation




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and Healthcare Service Arrangements, the industry’s most widely referenced textbook on

healthcare compensation. Id. at 4-5, 69-74.

          Mr. Smith regularly speaks and writes for major industry organizations, including, the

AIPCA, the American Health Lawyers Association (“AHLA”), the Health Care Compliance

Association (“HCCA”), the American Association of Provider Compensation Professionals

(“AAPCP”), the Medical Group Management Association (“MGMA”), the National Association

of Certified Valuation Analysts (“NACVA”), and Business Valuation Resources (“BVR”). Id. at

75-80. He is currently the chair of the Certified in Provider Compensation Valuation (“CPCV”)

credential committee for the AAPCP. Id. at 5. Mr. Smith has published extensively in the field

of physician compensation. Id. at 69-74.

          Methodist does not challenge Mr. Smith’s qualifications to serve as an expert in this case.

The United States simply highlights his credentials and experience here for the Court.

III.      ARGUMENT

       A. Overview of Admissibility of Expert Testimony

          Rule 702 and the Supreme Court’s analysis in Daubert v. Merrell Dow Pharmaceuticals,

Inc., 509 U.S. 579 (1993) govern the admissibility of expert testimony. Under Rule 702, “a

proposed expert's opinion is admissible, at the discretion of the trial court, if the opinion satisfies

three requirements. First, the witness must be qualified by ‘knowledge, skill, experience, training,

or education.’ Second, the testimony must be relevant, meaning that it ‘will assist the trier of fact

to understand the evidence or to determine a fact in issue.’ Third, the testimony must be

reliable.” In re Scrap Metal Antitrust Litig., 527 F.3d 517, 528-29 (6th Cir. 2008) (citations

omitted) (quoting FED. R. EVID. 702).




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       “The Rule 702 inquiry is a flexible one and its focus must be solely on principles and

methodology, not on the conclusions they generate.” Superior Prod. P’ship, 784 F.3d 311, 323

(6th Cir. 2015) (quoting Lee v. Smith & Wesson Corp., 760 F.3d 523, 526 (6th Cir. 2014). “[A]

determination that proffered expert testimony is reliable does not indicate, in any way, the

correctness or truthfulness of such an opinion.” In re Scrap Metal, 527 F.3d at 529. A “court must

be sure not ‘to exclude an expert’s testimony on the ground that the court believes one version of

the facts and not the other.’” Id. (quoting Fed. R. Evid. 702 advisory committee’s notes, 2000

amend.).

       “The task for the district court in deciding whether an expert’s opinion is reliable is not to

determine whether it is correct, but rather to determine whether it rests upon a reliable foundation,

as opposed to, say, unsupported speculation.” Id. at 529-30. “An expert’s opinion, where based

on assumed facts, must find some support for those assumptions in the record. However, mere

‘weaknesses in the factual basis of an expert witness’ opinion . . . bear on the weight of the evidence

rather than on its admissibility.” McLean v. 988011 Ontario, Ltd., 224 F.3d 797, 801 (6th Cir.

2000) (quoting United States v. L.E. Cooke Co., 991 F.2d 336, 342 (6th Cir.1993)).

       “[R]ejection of expert testimony is the exception, rather than the rule and we will generally

permit testimony based on allegedly erroneous facts when there is some support for those facts in

the record.” In re Scrap Metal, 527 F.3d at 530 (6th Cir. 2008) (internal quotations omitted).

Accordingly, “Rule 702 should be broadly interpreted on the basis of whether the use of expert

testimony will assist the trier of fact.” Morales v. Am. Honda Motor Co., Inc., 151 F.3d 500, 516

(6th Cir. 1998) (quoting Davis v. Combustion Eng’g, Inc., 742 F.2d 916, 919 (6th Cir. 1984)).

       “A court should not use its gatekeeping function to impinge on the role of the jury or

opposing counsel.” Burgett v. Troy-Bilt LLC, 579 Fed. Appx. 372, 376-377 (6th Cir. 2014).




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“‘Vigorous cross-examination, presentation of contrary evidence, and careful instruction on the

burden of proof are the traditional and appropriate means of attacking shaky but admissible

evidence’” Id. (quoting Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579, 596 (1993)).

   B. Overview of Methodist’s Arguments

       As previously noted, Mr. Smith’s 99-page report contains over 30 expert opinions

regarding Methodist’s implied “partnership” and payments to the West physicians. Methodist’s

motion challenges only the following three of those 30+ opinions:

       (1) “Methodist knew or should have known that the valuations did not match [ ] the
       terms of the [Professional Services Agreement (“PSA”)] and [Management
       Services/ Performance Improvement Agreement (“MSA”)] as written and as
       implemented and [ ] the facts and circumstances. Methodist had a clear duty to
       review these assumptions in the valuations but failed to do so at a systematic level.
       Had the valuations matched the terms and facts and circumstances, the FMV ranges
       for the PSA and MSA would have been lower,” (Expert Rep. of Tim Smith (“Smith
       Rep.”) at 10) (attached as Ex. A); see also id. at 38-43.)

       (2) “Methodist’s sharing of its pre-deal economic analysis with West amounted to
       a discussion about the value of referrals and how the parties would benefit from
       those referrals.” (Id. at 10; see also id. at 47-48.)

       (3) “Methodist prepared an inaccurate FMV ‘triggers’ calculation in 2013, resulting
       in an invalid reliance on the 2011 ECG Valuation for 2014 and 2015. This
       calculation indicated overpayments of $7.7 and $6.8 million respectively for the
       specialty of hematology/oncology based on ECG’s criteria.” (Id. at 9; see also id.
       at 18-22.)

Methodist designates these three opinions as Opinion 1, Opinion 2, and Opinion 3. As explained

below, these challenges are all misplaced.

   C. Opinion 1 Properly Addresses Notice to Methodist from Its Own Valuations

       Methodist’s principal argument against Smith’s Opinion 1 is that he improperly uses the

phrase, “Methodist knew or should have known” that the fair market valuations “did not match the

terms of the PSA and MSA as written and as implemented.” As previously stated, Mr. Smith’s

report addresses more than 20 separate ways in which Methodist’s payments and arrangements



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with West were contrary to the conditions and parameters of its own valuation opinions. Methodist

does not challenge any of Mr. Smith’s specific substantive opinions regarding Methodist’s

violations of its own valuation opinions. 4 It simply objects to his word choice.

        In focusing on the phrase “knew or should have known,” Methodist’s motion lifts this

phrase from its proper context to attack an opinion that Mr. Smith does not actually offer. At his

deposition on March 21, 2023, Mr. Smith already confirmed that he is not offering opinions about

the state of mind or intent of any Methodist executive or employee. See ECF No. 327-2 (“Smith

Dep.”) 291: 9-11. Rather, he is addressing the parameters and conditions of Methodist’s own

valuations and the fact that those valuations provided notice to Methodist of its compliance

violations. In this context, the phrase “knew or should have known” means no more than that

Methodist had notice. And notice is a fact question for the jury to consider with the assistance of

the parties’ expert opinions addressing highly technical financial and clinical metrics.

        In addressing the notice that Methodist’s own valuations provided to its executives, a jury

may reach its own conclusions about Methodist’s intent in paying West physicians in violation of

its own valuations. “Rule 704(b) only prevents experts from expressly stating the final conclusion

or inference as to a defendant’s actual mental state. The rule does not prevent the expert from

testifying to facts or opinions from which the jury could conclude or infer the defendant had the

requisite mental state.” United States v. Richard, 969 F. 2d 849, 854-855 (10th Cir. 1992) (citing

United States v. Dunn, 846 F. 2d 761, 762 (D.C. Cir. 1988) (“It is only as to the last step in the



4
       As discussed below under Opinion 3, Methodist only challenges Mr. Smith’s calculation
of Methodist’s overpayments under the methodology of Methodist’ own valuation consultant ECG
which focused on the “central” metric of the physician compensation to collections ratios.
Methodist does not challenge Mr. Smith’s opinion that Methodist paid the West oncologists
millions of dollars above the oncologists’ professional collections. Methodist only challenges Mr.
Smith’s specific calculation as to the amount of the overpayments. This challenge is fully
addressed below under Opinion 3.


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inferential process---a conclusion as to the defendant’s actual mental state---that Rule 704(b)

commands the expert to silent.”)); see also United States v. Foster, 939 F. 2d 445, 454 (7th Cir.

1991) (testimony “merely assisted the jury in coming to a conclusion as to [defendant’s] mental

state; it did not make that conclusion for them”). “Expert testimony expressly stating an opinion

as to the defendant’s state of mind at the time of the offense is barred by rule 704(b).” United

States v. Alvarez, 837 F.2d 1024, 1031 (11th Cir. 1988). “But this prohibition does not require the

exclusion of expert testimony that supports an obvious inference with respect to the defendant’s

state of mind if that testimony does not actually state an opinion on this ultimate issue, and instead

‘le[aves] this inference for the jury to draw.’” United States v. Augustin, 661 F.3d 1105, 1123 (11th

Cir. 2011) (per curiam) (quoting United States v. Alvarez, 837 F.2d 1024, 1031 (11th Cir. 1988)).

       The three primary cases that Methodist relies on are all distinguishable. In MAR Oil Co.

v. Korpan, 973 F. Supp. 2d 775, 786 (N.D. Ohio 2013), the court ruled that an expert “may testify

that [defendant’s] actions are inconsistent with industry standards” and “may even testify that a

person with similar experience in [defendant’s] position would have known the industry standard

and acted accordingly.” Id. The court in MAR simply restricted the expert from making

“conclusory statements regarding [defendant’s] actual state of mind.” Id. In this case, Mr. Smith

is not offering any “conclusory statements” regarding the actual state of mind of Methodist

executives. As approved by the court in MAR, he will testify that Methodist’s actions are

inconsistent with industry standards and a hospital system with similar experience in Methodist’s

position would have known the industry standards and the FMV valuation’s warnings and

conditions and acted accordingly. Similarly, in CMI-Trading, Inc. v. Quantum Air, Inc., 98 F. 3d

887, 890 (6th Cir. 1996), the court simply held that an expert’s opinion regarding whether the

parties “intended” to enter a lending relationship or a joint venture relationship was not




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admissible.” Id. In this case, Mr. Smith has not offered any opinion about anyone’s

intentions. Finally, in U.S. ex rel. Bawduniak v. Biogen Idec, Inc., 2022 U.S. Dist. LEXIS 120549

(D. Mass. July 8, 2022), the court held: “To be sure, an expert may opine on industry standards

and what constitutes deviations from such standards. But an expert may not then opine on

[defendant’s] intent in light of any alleged non-conformance with standards.” Id. at *8-9. “While

Relator’s experts may opine about standards and alleged non-conformance with such standards

from which a jury might infer intent, the experts may not offer their opinions as to what inferences

can be drawn.” Id. at 9. In this case, Mr. Smith will testify about industry standards, Methodist’s

own FMV valuations, and Methodist’s violations of industry standards and its own valuations from

which a jury might infer intent. But he is not offering opinions as to Methodist’s intent or state

of mind. His opinions fully comply with the courts’ rulings in Bawduniak, CMI, and MAR.

   D. Opinion 1 Explains Critical Technical Evidence That Will Assist the Trier of Fact

       Methodist also vaguely argues that Mr. Smith’s Opinion 1 is based on “speculative

assumptions” and “unreliable methods unreliably applied” and “is useless in assisting the trier of

fact to understand, through the application of specialized expertise, the evidence.”

       Ignoring for the moment the unsupported attack on Mr. Smith’s methodology, Methodist

is also plainly off-base in suggesting that Mr. Smith’s Opinion 1 will not assist the trier of fact in

assessing whether Methodist’s payments to West violated the conditions of its own FMV opinions.

And federal courts have repeatedly recognized the importance of evidence of warnings or notice

that a defendant received prior to proceeding with an illegal course of conduct.

       In United States ex rel. Drakeford v. Tuomey, the Fourth Circuit addressed the admissibility

of a consulting attorney’s warnings to a hospital system “that it would be very hard to convince

the government that a contract that paid physicians ‘substantially above even their collections,




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much less their collections minus expenses,’ would constitute fair market value.” 792 F.3d 364,

377 (4th Cir. 2015). “According to [the attorney consultant], compensation arrangements under

which the contracting physicians are paid in excess of their collections were “basically a red flag

to the government.” Id. The Fourth Circuit found the importance of such testimony to the

government’s case “self-evident” and “compelling.” Id.

       Similarly, the Eleventh Circuit refused to exclude expert testimony as what the defendants

were “told about the legality of their scheme” in United States v. Gish, 518 Fed. Appx. 871,

875 (11th Cir. 2013). The Eleventh Circuit distinguished such testimony from “what defendants

thought about that advice” or “any other state of mind they might have had at time.” Id. (“Expert

evidence that supports an inference as to the defendants' intent or other state of mind is not barred

so long as it leaves that inference to the jury to draw.”).

       Courts within this Circuit have reached similar conclusions. For example, in Schall v.

Suzuki Motor of America, Inc., a product liability case, the court permitted plaintiff’s expert to

testify as to “what [defendant] knew and when it knew it to assist a jury in understanding whether

Defendants’ actions were reasonable.” 2020 WL 1159757 at *5 (W.D. Ky. Mar. 10, 2020); see

also In re Yamaha Motor Corp. Rhino ATV Prod. Liab. Litig., 816 F. Supp. 2d 442, 459 (W.D.

Ky. 2011) (specifically permitted expert to testify as to “what Yamaha knew and when.”).

       Similar to the facts in Tuomey, on the eve of the implied “partnership” between Methodist

and West, Methodist’s consultants at ECG Management Consultants (“ECG”) warned Methodist

that payments to West that were not commensurate with their professional collections would

exceed fair market value and would violate ECG’s valuation opinion. See ECF No. 323-21 at 22.

In Fall 2011, Methodist hired ECG to issue a valuation opinion on Methodist’s payments to West

physicians for clinical services under the PSA. See ECF No. 257-8 (ECF Engagement). In October




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2011, ECG issued a valuation opinion premised on the “central condition” that the compensation

to collections ratios for the respective physician specialties must not exceed 5 percentage points of

the MGMA 5 national median. 6 For example, the national median compensation to collections ratio

for oncologists was 1.10 in 2012. 7 Under ECG’s valuation opinion, the compensation to

collections ratio for West oncologists could not exceed 1.15. ECF No. 323-21 at 21-22.

         The ECG opinion repeatedly states that it is based on the central premise that Methodist

would compensate the West physicians at levels commensurate with their productivity as

measured by their professional collections. “We believe that in principle, physicians should

receive compensation that is generally commensurate with their productivity (in terms of

professional collections), as productivity remains the primary driver of compensation nationally.”

ECF No. 323-21 at 11. “In conducting this analysis, we emphasize the principle that physicians

should receive compensation that is generally commensurate with their productivity (in terms of

professional collections)…” Id. at 17. “For physicians with high collections, we generally consider



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        Each year Medical Group Management Association (“MGMA”) surveys medical practices
nationally to obtain the most recent physician compensation and production data. The MGMA
Physician Compensation and Production Surveys are leading benchmarking resources for
physician compensation in the United States. The annual MGMA Surveys are based on physician
compensation and productivity data in the prior year.
6
        According to MGMA Surveys, the national median compensation to collections ratio for
hematologists/oncologists was 1.10 in 2011, 1.10 in 2012, 1.13 in 2013, 1.10 in 2014, 1.24 in 2015,
1.43 in 2016, 1.22 in 2017, and 1.34 in 2018.
7
        The national median compensation to collections ratio for oncologists at 1.10 reflects the
fact that oncologists are generally paid at levels commensurate with their professional collections,
however, private practice oncology groups can increase their compensation through chemotherapy
drug profits and other ancillary services. For example, West physicians testified that prior to the
implicit “partnership” with Methodist, their compensation pool included approximately $20
million in annual chemotherapy drug profits. After the “partnership” with Methodist, the West
Clinic sites became outpatient departments of the Methodist system and Methodist billed and
collected drug charges and could not legally share the drug profits with the referring West
physicians under the Anti-Kickback Statute. Yet Methodist used disguised channels to share drug
profits with the West physicians and one of those channels was paying West oncologists at levels
tens of millions above their professional collections.


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amounts paid at the median of an imputed compensation-to-collections benchmark to be consistent

with FMV, because it indicates what a physician’s compensation is in relation to his/her collections

and is consistent with that of his/her peers within the specialty on a percentage of collections

basis.” Id. at 20.

        As a check for compliance with this central premise, the ECG opinion required Methodist

to verify the compensation to collections ratios for each West specialty at the end of 2013.

Methodist failed to do that—and about that there is no dispute.

        Despite ECG providing an opinion that repeatedly stated the West physicians should be

paid at levels commensurate with their professional collections, Methodist proceeded to pay the

West oncologists at levels approximately $60 million above their professional collections

between 2012-2018. See ECF Nos. 352-8 at 22-24; 353-2 at 22-24. The ECG valuation put

Methodist on notice of the upper limit of permissible compensation; when Mr. Smith states that

Methodist had notice (“knew”), he relies on ECG’s report to Methodist and other extensive

evidence from Methodist’s own valuations. See ECF No. 328-1 (Smith Report) at 38-40.

        Methodist argues that Mr. Smith’s opinion that “had the valuations matched the terms and

facts and circumstances, the FMV ranges for the PSA and the MSA would have been lower…rests

on a speculative assumption and is based on unreliable methods, unreliably applied.” ECF No. 327

at 24. But Methodist ignores the fact that Mr. Smith followed the same methodology used by

Methodist’s FMV consultants and applied this methodology to corrected data based on the actual

facts. The only “speculative assumption” that Methodist identifies is Mr. Smith’s calculation of

the “ECG trigger” overpayment addressed below in his Opinion 3.

        Mr. Smith’s report identifies the specific assumptions of the valuations contrary to the

actual facts. ECF No. 328-1 at 38-40. Following the same methodology prescribed in each of




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Methodist’s valuation reports, he calculates the impact of these corrections on the FMV

calculations. For example, Mr. Smith’s report analyzes the valuations and the payments made

under the PSA for 2012 through 2017, demonstrating that Methodist paid West for wRVUs that

West-employed nurse practitioners performed while at the same time, Methodist reimbursed West

for the salaries and benefit cost of these nurse practitioners, thereby creating a financial windfall

for West. Id. at 52 (Report Ex. 1). In other words, Mr. Smith identified and quantified Methodist

making duplicative payments to West for the same services. He similarly identified and quantified

duplicative payments for nonclinical or administrative services in the 2015 and 2016 ECG PSA

Valuations. Id. at 61-63 (Report Ex. 7 & 8).

       Methodist’s motion suggests that Mr. Smith must develop his own valuation to offer the

expert opinion that eliminating duplicative payments would result in a lower FMV. That is

erroneous. It is not necessary to perform a separate valuation to reach the fundamental conclusion

that FMV does not include duplicative payments. Moreover, it is not necessary to prepare a

separate valuation to conclude that FMV opinions would necessarily be lowered to remedy the

problem of duplicative payments.

       Mr. Smith’s report identifies and quantifies overpayments made for the base management

services resulting from Methodist not following the FMV range as clearly specified in the 2014

Altegra MSA Valuation, 2016 Pinnacle MSA Valuation, and the 2017 Pinnacle MSA Valuation.

Id. at 35-36. For this opinion, Mr. Smith’s methodology is simply reading the clear and explicit

language of Methodist’s own underlying valuations and comparing this language to the actual

payments Methodist made to West, finding them to exceed the FMV range in the valuations.

       Methodist’s motion takes the nonsensical position that it is “speculative” and “unreliable”

for Mr. Smith to opine that Methodist paid more than an FMV opinion on which Methodist is




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relying for compliance purposes. Further, Methodist contends that a separate valuation must be

prepared for an expert to conclude that the specified FMV range, as explicitly stated in a valuation

report from another valuator, be followed and adhered to by the party relying on that valuation,

and that the payments made would need to be lowered to comply with that valuation.

       Mr. Smith further explained his methodology through extensive citations of the language

of the subject valuation reports. He cites the explicit limitations and qualifications for each

valuation report on which Methodist relied. Id. at 38-40. These limitations and qualifications

include statements about the assumed terms of the agreements and certain facts and circumstances.

He then compares these assumed conditions to the actual practices of the parties during the period

of 2012 to 2017. Id.

       Methodist argues that a FMV opinion cannot be evaluated or critiqued unless a valuator

prepares his or her own independent valuation. But this claim does not comport with generally

accepted valuation practice. The guidance given to credential holders of the Accredited in

Business Valuation (“ABV”) from the American Institute of Certified Public Accountants

(“AICPA”) for reviews and critiques of valuations in a litigation context is that a valuation analyst

can correct an opposing expert’s analysis for any reason and indicate corrected values.

Memorandum from Robert Reilly, AICPA Valuation Standards Subcommittee, April 29, 2008,

Subject: “SSVS and Critiques of Opposing Expert Valuations.” See Ex. A. The analyst is not

required to develop his or her own valuation opinion to critique and correct the valuation of

another. Mr. Smith holds the ABV credential, and he follows this guidance.

       Finally, Methodist’s argument that “only a handful of areas” are corrected does not address

the fact that these areas resulted in reductions in the FMV calculations by millions of dollars based

on the same methodology used in the valuation reports that Methodist used and relied on. The




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inaccuracies detailed in Mr. Smith’s report were major and material to the FMV determinations of

Methodist’s own valuations.

   E. Opinion 2 Is Not Testimony on Intent and Legal Standards

       Methodist next challenges what it designates as Mr. Smith’s Opinion 2:

       (2) “Methodist’s sharing of its pre-deal economic analysis with West amounted to a
       discussion about the value of referrals and how the parties would benefit from those
       referrals.” (Id. at 10; see also id. at 47-48.)

Mr. Smith’s Opinion 2 addresses “smoking gun” communications between Methodist’s former

Chief Financial Officer (“CFO”) Chris McLean and West’s senior leaders at the end of their

lengthy negotiations over the financial terms of their “partnership.”

       In July of 2010, eighteen months before their implied partnership began, Methodist

executives and West physicians began exchanging emails and data regarding the projected profits

from West’s cancer drug prescriptions if Methodist could obtain the drugs at discounted rates

under the 340B Program. Methodist and West leaders determined that projected 340B profits

would be more than $16 million from West’s prescriptions. ECF No. 328-1 at 46-48. In other

words, the parties discussed revenue and projected profits from West’s referrals of drug

prescriptions for many months before finalizing the financial terms in August of 2011.

       At the end of their negotiations, in August of 2011, Methodist CFO McLean prepared an

Excel spreadsheet that confirmed how the 340B drug profits generated by West’s prescriptions

would be divided. See Ex. B. On August 17 and 18, 2011, McLean circulated a copy of this

spreadsheet to West’s leaders. See Ex. C. McLean listed the “340B drug savings” under the tab

“Financial Impact.” See Ex. B. The term “340B drug savings” means drug profits. The total

“financial impact” listed was $17.79 million and 340B drug profits represented $16.62 million or

93 percent of this total “financial impact.” Id. Then under a separate tab labeled “Impact on Each




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Organization,” McLean listed how the $17.790 million “financial impact” would be divided

between Methodist and West. Id.. West would receive $7.006 million and that amount was listed

as “West Clinic Impact.” Methodist would receive $10.784 million and that amount is listed as

“Total Methodist Margin.” Id. McLean further showed the $7.006 million in 340B drug profits

distributed to West as the basis for projecting “West Clinic physician salary and benefits”

increasing from $33.556 million in a “normalized year” to $40.562 million under the “new svc

arrangement.” Id. The 340B drug profits were not simply a source of funding for Methodist to

pay West. Rather, Methodist and West had a specific understanding and agreed calculation about

how 340B drug profits would be divided between them.

       Under the AKS, sharing drug profits with physicians who prescribe those drugs is a

kickback under that statute’s prohibition against paying “any remuneration (including any

kickback, bribe, or rebate) directly or indirectly, overtly or covertly, in cash or in kind to any

person to induce such person— to refer an individual to a person for the furnishing or arranging

for the furnishing of any item or service for which payment may be made in whole or in part under

a Federal health care program.” 42 U.S.C. § 1320a-7b(b); see ECF No. 345 (discussing meaning

of remuneration in AKS). The Eleventh Circuit found criminal violations of the AKS when a

specialty pharmacy paid a portion of drug profits to individuals who referred patients to the

pharmacy. United States v. Vernon, 723 F. 3d 1234 (11th Cir. 2013). One of the defendants argued

on appeal that she was not a physician who could “refer” patients to the pharmacy within the

meaning of the AKS. The Eleventh Circuit rejected that argument, holding “the plain language of

the statute is not limited to payments to physicians who prescribe medication.” Id. at 1254. The

Eleventh Circuit recognized that “commission” payments of drug profits to either physicians or

non-physicians who refer the patients constitute violations of the AKS.




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       Methodist tries to contort this damning evidence to prevent Mr. Smith from using such

evidence in his expert opinions. Specifically, Methodist objects to Mr. Smith’s use of the terms

“financial mindset” and “sharing mindset” in his report when discussing Methodist’s documented

strategy and compensation model for sharing drug profits with the prescribing West physicians.

But Mr. Smith is not offering opinions about the state of mind or intent of any Methodist executive

or employee. Nor is he offering any interpretation of emails as suggested by Methodist’s motion;

McLean’s emails say what they say and no interpretation is needed. He is simply discussing that

West and Methodist were “sharing” this financial information pre-deal.

       Mr. Smith’s statement that “Methodist’s sharing of its pre-deal economic analysis with

West amounted to a discussion about the value of referrals and how the parties would benefit from

those referrals” is not a legal conclusion about Methodist violating the AKS. At his deposition,

Mr. Smith already confirmed that he is not a “legal expert.” See Ex. D (Smith Dep.) 33: 21-23.

Rather, he offers his opinion about healthcare industry standards, based on his 28 years of his

professional experience, including designing and managing HCA’s FMV compliance program.

       At the outset of his Report, Mr. Smith states his qualifications in the healthcare industry as

the bases of his opinions. In the single paragraph of his Report using the phrase, “’bright’ line in

terms of transactional compliance for federal regulatory purposes,” Mr. Smith begins the

paragraph stating, “As a former compliance officer….” He is clearly testifying from his extensive

personal experience in the healthcare industry regarding industry standards and is not proposing

to offer the jury conclusions on matters of law.

       Federal case law fully endorses expert testimony based on industry practices. See, e.g.,

Davis v. Mason County, 927 F.2d 1473, 1485 (9th Cir. 1991) (“Moreover, Fed. R. Evid.

702 permits expert testimony comparing conduct of parties to the industry standard”); Berckeley




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Inv. Group, Ltd. v. Colkitt, 455 F.3d 195, 219 (3d Cir. 2006) (expert’s testimony regarding industry

practices would be probative of entity’s scienter at time of agreement); Vucinich v. Paine, Webber,

Jackson & Curtis, Inc., 803 F.2d 454, 461 (9th Cir. 1986) (expert testimony regarding industry

standards are “highly relevant and far from prejudicial” and the “trial judge apparently confused

these rules with federal law, as to which federal judges are the authority. Not being civil law, these

rules were proper matters for expert testimony. Exclusion was an abuse of discretion”). “Expert

testimony on industry standards is common fare in civil litigation.” Levin v. Dalva Bros., Inc., 459

F.3d 68, 79 (1st Cir. 2006) (citations omitted).

       Methodist also argues that Mr. Smith’s Opinion 2 regarding Methodist sharing drug profits

with the prescribing West physicians is “not relevant and threatens to confuse or mislead the jury.”

ECF No. 325 at 18. Methodist additionally argues that “whether an arrangement takes into account

the ‘volume or value of referrals’ is not a standard for purposes of the AKS.” Id. However, the

United States has already briefed the relevant standards under the FCA and AKS in its opposition

to Methodist’s summary judgment motion, see ECF No. 345, and Methodist’s argument about

volume or value of referrals here is misleading and beside the point. The arrangement between

Methodist and West physicians included a professional services contract and management services

contract. The AKS regulations provide a “safe harbor” for personal services and management

contracts if all seven of the regulatory requirements are met. One of these seven requirements is

that “aggregate compensation paid to the agent over the term of the agreement is set in advance, is

consistent with fair market value in arms-length transactions and is not determined in a

manner that takes into account the volume or value of any referrals or business otherwise generated

between the parties for which payment may be made in whole or in part under Medicare, Medicaid

or other Federal health care programs.” 42. C.F.R. §1001.952(d)(emphasis added).




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       Here, Methodist has not asserted any safe harbor defense. See ECF No. 345 at 33. This is

significant for a hospital system with teams of attorneys and consultants structuring the

“partnership” with West physicians that led to hundreds of millions of dollars in payments to

referring physicians and hundreds of millions of dollars in Medicare claims. Methodist attempts

to exploit its admitted failure to fit into any safe harbor by claiming its agreement to share drug

profits with West physicians is not relevant to any “standard for purposes of the AKS.”

       But despite Methodist’s contortions, evidence of a hospital system agreeing to share drug

profits with referring physicians is highly relevant under the AKS. In United States v. Southeast

Eye Specialists, 570 F. Supp. 3d 561, 570 (M.D. Tenn. 2021), Chief Judge Crenshaw recognized

that the Third, Fifth, Seventh, Ninth, and Tenth Circuits “are in accord” in holding that if one

purpose of payments to physicians was to induce referrals, then the AKS is violated. Id. In United

States v. Napper, 2021 WL 4992651, at *53 (M.D. Tenn. October 27, 2021), Judge Trauger

recognized “courts have held that a payment made for the purpose of inducing a referral can violate

the AKS, ‘even if the payments were also intended to compensate for professional services.’” Id.

(quoting United States v. Borrasi, 639 F. 3d 774. 782 (7th Cir. 2011) and United States v. Greber,

760 F. 2d 68, 72 (3d Cir. 1985). “Indeed, it is common for AKS violations to occur alongside

legitimate medical business activities; kickback schemes are only successful insofar as they are

able to embed themselves within the vast, lucrative universe of ordinary healthcare services and

payments.” Id.; see also ECF No. 345 at 28-29 (discussing one purpose rule).

       Mr. Smith’s expert opinions regarding a hospital system sharing drug profits with the

referring physicians are relevant to the ultimate issue in this case, but that fact does not preclude

his opinions. Rule 704(a) establishes that “[a]n opinion is not objectionable just because it

embraces an ultimate issue.” “Its adoption abolished the so-called ‘ultimate issue rule’ which




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proscribed opinion testimony that ostensibly invaded the province of the jury.” Haney v. Mizell

Memorial Hospital, 744 F.2d 1467, 1473 (11th Cir. 1984); see also Johnson Group, Inc. v.

Beecham, Inc., 952 F.2d 1005, 1007 (8th Cir. 1991) (“An expert witness may give opinion

testimony if it will assist the trier of fact to understand the evidence or determine a fact in

issue. Fed. R. Evid. 702. Such opinion testimony is not inadmissible merely because it embraces

an ultimate issue to be decided by the trier of fact”).

   F. Opinion 3 Follows the Same Methodology as Methodist’s Own Valuation Consultants

       Finally, Methodist challenges Opinion 3, which Methodist describes as follows:

               (3) “Methodist prepared an inaccurate FMV ‘triggers’ calculation in 2013, resulting
               in an invalid reliance on the 2011 ECG Valuation for 2014 and 2015. This
               calculation indicated overpayments of $7.7 and $6.8 million respectively for the
               specialty of hematology/oncology based on ECG’s criteria.” (Id. at 9; see also id.
               at 18-22.)

       Methodist argues that “Mr. Smith’s calculation in Opinion 3 of an ‘overpayment’ based on

the difference between compensation actually paid under the PSA and compensation paid were the

compensation-to-collections ratio set in relation to the 2011 MGMA median is based on

speculative assumptions and unreliable methods, and the analytical gap between his data and

conclusions is too great.” ECF No. 327 at 20.

       Although Methodist argues Mr. Smith’s methods here are “unreliable,” Methodist fails to

inform the Court that Mr. Smith’s methodology leading to his Opinion 3 is the same as Methodist’s

own valuation consultant ECG used in examining the ratio between West physicians’

compensation and their professional collections. Compare ECG Report, ECF No. 323-21 at 19-

22 with Smith Report, ECF No. 328-1 at 15-18. “The Rule 702 inquiry is a flexible one and its

focus must be solely on principles and methodology, not on the conclusions they generate.”

Superior Prod. P’ship, 784 F.3d at 323 (internal citations omitted) (quotations omitted). The




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methodology of physician compensation-to-collections ratios is well-established and standard in

the healthcare industry for valuating physician compensation.

       Methodist has a long history of attempting to manipulate this powerful evidence. As

discussed above, despite ECG providing an opinion that repeatedly stated the West physicians

should be paid at levels commensurate with their professional collections, Methodist proceeded

to pay the West oncologists at levels approximately $60 million above their professional

collections between 2012-2018. See ECF No. 346 (RSOF) ¶¶ 47, 214.

       Mr. Smith’s Opinion 3 provides a calculation of how much Methodist paid the West

oncologists above their professional collections. In performing this calculation, Mr. Smith used

the professional collections verified as accurate by Methodist in discovery. To understand Mr.

Smith’s calculations, a brief review of the history of this issue is important. The ECG opinion

required Methodist to verify the compensation to collections ratios for each West specialty at the

end of 2013. Methodist failed to do that. Instead, mid-way through 2013 in June, Methodist and

West leaders falsely manipulated both the numerator and denominator of the compensation to

collections ratio to reach a calculation that was ostensibly under the threshold allowed by ECG.

See generally Ex. E (June 2013 meeting minute notes). In June 2013, Methodist and West leaders

used the amount of $18.49 million as the oncologists’ professional collections for 2012. Id. Yet

in discovery Methodist repeatedly changed its answers about the amount of West’s professional

collections and ultimately admitted that the West oncologists’ professional collections were $16.74

million in 2012, not $18.49 million. ECF No. 352-2 at 22-23.

       With respect to compensation for the oncologists in 2012, Methodist and West leaders used

the bogus number of $21.07 million. See Ex. E at 12. This number was nearly $3 million below

their actual compensation of $23.93 million. The compensation could be easily determined and




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verified by Methodist executives who received and paid the invoices from West each month. Each

invoice itemized the amounts billed for the West oncologists. Yet Methodist executives chose to

use a compensation number $3 million less than the amounts that they knew were paid.

       While Methodist and West manipulated the numbers to reach a compensation to collections

ratio of “1.14” or conveniently .01 below the ECG threshold, the actual compensation to

collections ratio was 1.43 in 2012 and 1.48 in 2013. ECF No. 328-1 at 60. In 2012 and 2013,

Methodist paid the West oncologists at levels approximately $9.62 million above the thresholds

authorized by the ECG valuation opinion. Id. After Methodist’s manipulation of financial data in

June 2013, Methodist’s executives continued approving payments for West oncologists at levels

millions of dollars above their professional collections. Despite the requirement in ECG’s

valuation opinion that Methodist obtain a new valuation opinion at the end of 2013, Methodist

failed to do so and did not obtain any new valuation opinion until 2016 when it went back to ECG

and engineered a new valuation opinion that ignored Methodist’s ongoing payments millions of

dollars above the West oncologists’ professional collections. See ECF No. 346 (CSOF) ¶ 67.

       On September 1, 2021, Methodist answered an interrogatory with the amounts of the West

oncologists’ professional collections. Then on October 20, 2021, Methodist changed its answers

and served “Supplemental Responses” with different professional collections for each of the years

2012-2018. Then on July 14, 2022, Methodist served “Amended Supplemental Responses” and

changed their answers, yet again, regarding the amounts of professional collections for West

oncologists. ECF No. 353-2 at 22-23. At his deposition, Methodist’s former CFO McLean

admitted that Methodist’s responses to the interrogatories regarding West’s professional

collections changed by $19.7 million dollars. Ex. F (McLean Dep.) Vol I. 338: 10-15.




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         Methodist’s “Amended Supplemental” responses in effect admitted that the professional

collections used by Methodist/West executives at their meeting in June 2013 to address compliance

with ECG’s valuation opinion were inaccurate and inflated. Methodist’s “Amended Supplemental

Responses” also in effect admitted that during the years 2012-2018, Methodist paid the West

oncologists at levels approximately $60 million above their professional collections. ECF No.

353-2 at 22-24 (stating collections amounts); see ECF No. 346 (RSOF) ¶¶ 47, 214 (describing

overpayment approximately of $60 million and the basis for that number).

         Over six months after the close of discovery, 8 Methodist submitted an “expert” report of

Gregory Russo in which he provides new and different amounts for the West physicians’

professional collections for each of the years 2012-2018. His Report begins with the statement:

         I have been retained by Bass, Berry & Sims PLC (“Counsel”) on behalf of its clients
         Methodist Le Bonheur Healthcare and Methodist Healthcare-Memphis Hospitals
         (collectively, “Methodist”), to analyze data whereby I could identify the total
         collections and professional collections associated with The West Clinic, PLLC
         (“West”) and its practitioners.

ECF No. 323-9 at 3.

         Despite having already provided verified answers in discovery regarding the amounts of

West oncologists’ professional collections, Methodist retained an expert witness to calculate

different amounts that would only be disclosed months after fact discovery ended. Even under

Mr. Russo’s new calculations, Methodist’s payments to the West oncologists were still nearly $60

million above their professional collections. Compare ECF. No. 323-9 at 13 (Russo Table 6 –

Actual and Estimated Professional Collections) (purporting to show somewhat higher collections

than previously disclosed by Defendant) with ECF No. 353-2 at 22-24. Then, on March 1, 2023,




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 The Seventh Case Management Order confirms that fact discovery “closed on September 23,
2022. (Dkt. 298, p. 2).


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Methodist yet again amended its answers to Relator’s interrogatory to match the amounts of West’s

professional collections Mr. Russo’s report. See ECF No. 352-8 at 22-23.

         In his Report, Mr. Smith used the amounts of professional collections provided by

Methodist in their “Amended Supplemental Responses” during the discovery period. Thus, Mr.

Smith’s calculations of Methodist’s overpayments are based on the exact amounts of professional

collections that Methodist certified were accurate after twice amending their original answers

during discovery. Yet after Mr. Smith submitted his report on February 21, 2023, on March 1,

2023, Methodist changed their answers about the amounts of West professional collections yet

again. ECF No. 352-8 at 22-23.

         Methodist feigns confusion about “how the calculations that Mr. Smith performed support

his conclusion.” 9 Methodist argues that “it is still not possible for a trigger calculation in 2013 to

generate overpayments in 2012.” ECF No. 327 at 22. The presumption of Methodist’s argument

is that Methodist was free to pay West whatever it wished in 2012 and the compensation to

collections ratio emphasized by ECG did not matter in 2012. This presumption is contrary to the

core opinions of ECG’s valuation. The ECG opinion repeatedly states that it is based on the central

premise that Methodist would compensate the West physicians at levels commensurate with their

productivity as measured by their professional collections.         “We believe that in principle,

physicians should receive compensation that is generally commensurate with their productivity (in

terms of professional collections), as productivity remains the primary driver of compensation

nationally.” ECF No. 323-21 at 12. “In conducting this analysis, we emphasize the principle that




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        Methodist feigns confusion about the single “typo” in Mr. Smith’s summary section of his
report regarding the calculation of the overpayment. But the discussion section of Mr. Smith’s
report and the Exhibits do not have this typo, and Mr. Smith has already addressed this harmless
typo in detail.


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physicians should receive compensation that is generally commensurate with their productivity (in

terms of professional collections)…” Id. at 18. “For physicians with high collections, we generally

consider amounts paid at the median of an imputed compensation-to-collections benchmark to be

consistent with FMV, because it indicates what a physician’s compensation is in relation to his/her

collections and is consistent with that of his/her peers within the specialty on a percentage of

collections basis.” Id. at 21.

        Methodist also argues that Mr. Smith’s calculations of Methodist’s payments above the

West oncologists’ professional collections and “Mr. Smith’s opinion rest[] on a speculative

assumption about what constitutes fair market value.” ECF No. 327 at 23. Methodist again ignores

its own valuation opinion from ECG that repeatedly states that its report addresses the FMV of

Methodist’s payments to West and the “central” condition of ECG’s opinion about FMV is the

physicians’ compensation-to-collections ratio. ECF No. 323-21 at 22. The methodology of

examining the compensation-to-collections ratio is not a “speculative assumption” by Mr. Smith.

As stated by ECG, “[t]he reported benchmark of physician compensation-to-collections ratio is

central in the determination of this FMV opinion…” Id.

IV.     CONCLUSION

        The United States respectfully submits that Methodist’s motion to exclude certain portions

of Mr. Smith’s proposed testimony should be denied in its entirety.

                                             Respectfully submitted,

                                             HENRY C. LEVENTIS
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                                             Middle District of Tennessee

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                               CERTIFICATE OF SERVICE

       I hereby certify that on May 25, 2023, a true and correct copy of the foregoing was served
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